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                                                         July 24, 2023
By E-Mail
Clayton P. Solomon                                       Michael S. McGarry
Allison McGuire                                          Assistant United States Attorney
Derek J. Ettinger                                        U.S. Attorney’s Office
Jonathan P. Robell                                       District of Connecticut
U.S. Department of Justice                               157 Church Street
1400 New York Avenue, NW                                 New Haven, CT 06510
Washington, DC 20005

        Re:     United States v. Oztemel, et al.
                23 Crim. 26 (KAD)

Dear Counsel:
        Predicated upon discovery produced to date (see, e.g., United States v. Lee, 723 F.3d 134,
140 (2d Cir. 2013) (production required where the government is conducting a joint investigation
with foreign authorities); DOJ-GLENNOZTEMEL-0001666686 (Brazilian Public Federal
Prosecutor witness statement for joint Berkowitz interview conducted on December 2, 2019, at
the Houston United States Attorney’s Office), 1 we make, on behalf of Glenn Oztemel, the
following additional and renewed requests for discovery, prompt production of which is required
by this district’s Standing Order, Brady/Giglio, Fed. R. Civ. P. 16, and applicable Second Circuit
precedent:

    1. All memoranda, notes (including by attorneys for the government), and any other records
       of all meetings or any other oral or written statements of attorney proffers to the
       government of statements their clients would make in response to any government
       questioning.




1
  See also, e.g., United States v. Martoma, 990 F. Supp. 2d 458, 461 (S.D.N.Y. 2014) (relying on the joint
conduct of interviews, exchange of documents, coordination of deposition efforts, and communications
regarding the status of fact-gathering to find a joint investigation); DOJ-GLENNOZTEMEL-0001666713
(Brazilian Public Federal Prosecutor witness statement for Berkowitz interview conducted on December
3, 2019, at the Houston United States Attorney’s Office); DOJ-GLENNOZTEMEL-0001666733
(Brazilian Public Federal Prosecutor witness statement for Berkowitz interview conducted on December
2, 2019, at the Houston United States Attorney’s Office).
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   2. Documents, notes, and memoranda (including held by law enforcement authorities in
      Brazil) documenting each of Rodrigo Berkowitz’s lies to Brazilian police in 2016. See
      DOJ-GLENNOZTEMEL-0001791132.

   3. All contracts (including draft contracts) between any entity affiliated with Eduardo
      Innecco and Pimelir—including, but not limited to, the contract between Morgenstern
      and Pimelir dated January 30, 2015. See DOJ-GLENNOZTEMEL-0001667095.

   4. All invoices from Pimelir to any entity affiliated with Eduardo Innecco—including, but
      not limited to, the December 6, 2012, invoice from Pimelir to Morgenstern for
      $161,712.28. See DOJ-GLENNOZTEMEL-0001667095.

   5. All email, WhatsApp, text message, and any other communications between Eduardo
      Innecco and Rodrigo Berkowitz.

   6. All records of agreements with, including any benefits offered or provided to, Rodrigo
      Berkowitz by Brazilian authorities, including any leniency offered or provided.

   7. All records of agreements with, including any benefits offered or provided to, Paulo
      Caesar Pereira Berkowitz by the United States and/or Brazilian authorities, including any
      leniency offered or provided.

   8. Rodrigo Berkowitz’s United States income tax returns for the years 2010-2020.

   9. Rodrigo Berkowitz’s Brazilian income tax returns for the years 2010-2020. See DOJ-
      GLENNOZTEMEL-0001791132.

   10. All documents related to Rodrigo Berkowitz’s and any member of his family’s U.S.
       immigration and work authorization status, 2010 to the present.

   11. All banking documents—e.g., account statements and wire records—for bank accounts
       associated with Arcadia.

   12. All banking documents—e.g., account statements and wire records—for bank accounts
       associated with Brazilian Chemicals.
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   13. Copies of all MLAT applications, including renewal requests, submitted in the
       investigation of this case.
                                                  Very truly yours,

                                                  _______________________
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                                                  David Hoffman
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                                                  655 Third Avenue
                                                  New York, NY 10017
                                                  Attorneys for Glenn Oztemel
